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               UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                 No. 05-cr-112-01/02-JD

Carlos Soto-Garcia
Luis Ortiz-Lara


                              PROCEDURAL ORDER


     Based on the oral motions of counsel for the defendants at a

hearing on the pending motions, the court granted a continuance

of the trial in the interests of justice.          The case is

rescheduled for trial on November 13, 2006.

     Defendant Carlos Soto-Garcia’s motions to exclude evidence

(document nos. 47, 48, 49, 53) were denied, and counsel was given

the opportunity to request a continuance in order to review the

information recently made available to him.          The government was

directed to adhere to the requirements of Local Rules 16.1(c),

(e), (f), and 16.2.

     The court recognizes that Defendant Soto-Garcia filed a

notice of public-authority defense under Fed. R. Crim. P. 12.3(a)

on February 27, 2006 (document no. 24).          If Defendant Luis Ortiz-

Lara intends to assert a public-authority defense, he shall file

an independent notice pursuant to Fed. R. Crim. P. 12.3(a) by

October 18, 2006.
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      The government shall comply with the provisions of Fed. R.

Crim. P. 12.3(a)(3) by responding to the defendants’ respective

notices by October 19, 2006.

      The defendants and the government shall thereafter comply

with the disclosure provisions of Fed. R. Crim. P. 12.3(a)(4).

      The government shall respond to Defendant Ortiz-Lara’s

motion to dismiss (document no. 60) by October 23, 2006.

      SO ORDERED.




                                          ____________________________
                                          Joseph A. DiClerico, Jr.
                                          United States District Judge

October 17, 2006

cc:   Robert B. Carmel-Montes, Esquire
      Donald A. Feith, Esquire
      Timothy M. Harrington, Esquire
      Michael J. Sheehan, Esquire




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